                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                              No. CR12-4077-MWB
 vs.                                            RULE 11(c)(1)(C) REPORT AND
                                                   RECOMMENDATION
 JEREMY SNYDER,
                                               CONCERNING PLEA OF GUILTY
               Defendant.
                                ____________________


       On May 14, 2013, the above-named defendant, by consent, appeared before the
undersigned United States Magistrate Judge pursuant to Federal Rule of Criminal
Procedure 11, and entered a plea of guilty to Count One of the Information. After
cautioning and examining the defendant under oath concerning the subject mentioned in
Rule 11, the court determined that the guilty plea was knowledgeable and voluntary, and
the offense charged was supported by an independent basis in fact containing the essential
elements of the offense charged in Count One of the Information.               The court
therefore RECOMMENDS that the plea of guilty be accepted and the defendant be
adjudged guilty.
       At the commencement of the Rule 11 proceeding, the defendant was placed under
oath and advised that if he answered any questions falsely, he could be prosecuted for
perjury or for making a false statement.       He also was advised that in any such
prosecution, the Government could use against him any statements he made under oath.
       The court then asked a number of questions to ensure the defendant’s mental
capacity to enter a plea. The defendant stated his full name, his age, and the extent of
his schooling. The court inquired into his history of mental illness and addiction to
narcotic drugs. The court further inquired into whether the defendant was under the
influence of any drug, medication, or alcoholic beverage at the time of the plea hearing.


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From this inquiry, the court determined that the defendant was not suffering from any
mental disability that would impair his ability to make knowing, intelligent, and a
voluntary plea of guilty to the charge.
       The defendant acknowledged that he had received a copy of the Information, and
he had fully discussed these charge with his attorney.
       The court summarized the charge against the defendant, and listed the elements of
the crime. The court determined that the defendant understood each and every element
of the charge, ascertained that the defendant’s counsel had explained each and every
element of the charge fully to the defendant, and the defendant’s counsel confirmed that
the defendant understood each and every element of the charge.
       The court then elicited a full and complete factual basis for all elements of the
crime charged in Count One of the Information.
       The court advised the defendant of the consequences of his plea, including, the
maximum fine and the maximum term of imprisonment.
       With respect to Count One, the defendant was advised that the maximum fine is
$250,000; the maximum term of imprisonment is three years; and the maximum period
of supervised release is one year.
       The court advised the defendant that he was pleading guilty under a plea agreement
with the Government that provided for the imposition of a specific, agreed sentence at the
time of the sentencing hearing. After confirming that a copy of the written plea
agreement was in front of the defendant and his attorney, the court determined that the
defendant understood the terms of the plea agreement. The court explained to the
defendant that at the sentencing hearing, the district judge would consider whether or not
to accept the plea agreement and impose the agreed sentence. If the district judge decided
to accept the plea agreement and impose the agreed sentence, then the defendant would
receive the agreed sentence. If the district judge decided to reject the plea agreement and


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impose a different sentence, then the defendant would have an opportunity to withdraw
his plea of guilty and plead not guilty. The court further advised the defendant that
pursuant to the terms of the plea agreement, which provided that he was pleading guilty
pursuant to Rule 11(c)(1)(C), Federal Rules of Criminal Procedure, he would be
sentenced to a term of probation. Also pursuant to the plea agreement it has been agreed
and stipulated to that defendant may have already made, or is in the process of making
restitution payments to the FSA, pursuant to a previous judgment. As of the date of the
plea agreement, the remaining restitution owed is approximately $22,317.90. Defendant
understands the imposition or payment of restitution will not restrict or preclude the filing
of any civil suit or administrative action. Defendant has agreed any restitution imposed
will be non-dischargeable in any bankruptcy proceeding and defendant will not seek a
discharge or a finding of dischargeability as to the restitution obligation.
       The court explained to the defendant that if the district judge rejected the plea
agreement and the defendant did not withdraw his guilty plea, then the court could
dispose of the case less favorably toward him than the plea agreement contemplated,
including imposing a longer sentence than the one to which the parties had agreed in the
plea agreement.
       The defendant also was advised that the court was obligated to impose a special
assessment of $100.00 which he must pay. He also was advised of the collateral
consequences of a plea of guilty. The defendant acknowledged that he understood all of
the above consequences.
       The court then explained supervised release to the defendant, and advised the
defendant that a term of supervised release would be imposed in addition to the sentence
of imprisonment. The defendant was advised that among other conditions of supervised
release, he could not commit another federal, state, or local crime while on supervised
release, and he could not possess illegal controlled substances while on supervised


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release. The defendant was advised that if he were found to have violated a condition of
supervised release, then his term of supervised release could be revoked and he could be
required to serve in prison all or part of the term of supervised release without credit for
time previously served on supervised release.
        The defendant was advised that parole has been abolished.
        Defendant also acknowledges that his plea agreement contains an appeal waiver,
and he agrees to waive his appeal rights as set out in that waiver.
        The defendant indicated he had conferred fully with and was fully satisfied with
his attorney. The defendant’s attorney indicated that there is a factual basis for the guilty
plea.
        The defendant was advised fully of his right to plead not guilty, and have a jury
trial, including:
        1.    The right to assistance of counsel at every stage of the pretrial and trial
              proceedings;
        2.    The right to a speedy, public trial;
        3.    The right to have his case tried by a jury selected from a cross-section of
              the community;
        4.    That he would be presumed innocent at each stage of the proceedings, and
              would be found not guilty unless the Government could prove each and
              every element of the offense(s) beyond a reasonable doubt;
        5.    That the Government could call witnesses into court, but the defendant’s
              attorney would have the right to confront and cross-examine those
              witnesses;
        6.    That the defendant would have the right to see and hear all witnesses
              presented at trial;
        7.    That the defendant would have the right to subpoena defense witnesses to
              testify at the trial, and if he could not afford to pay the mileage and other
              fees to require the attendance of those witnesses, then the Government
              would be required to pay those costs;



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          8.    That the defendant would have the privilege against self incrimination; i.e.,
                he could choose to testify at trial, but he need not do so, and if he chose not
                to testify, then the court would, if the defendant requested, instruct the jury
                that the defendant had a constitutional right not to testify;
          9.    That any verdict by the jury would have to be unanimous;
          10.   That he would have the right to appeal, and if he could not afford an
                attorney for the appeal, then the Government would pay the costs of an
                attorney to prepare the appeal.
          The defendant also was advised of the rights he would waive by entering a plea of
guilty. The defendant was told there would be no trial, he would waive all the trial rights
just described, and he would be adjudged guilty without any further proceedings except
for sentencing.
          The defendant then confirmed that his decision to plead guilty was voluntary and
was not the result of any promises other than plea agreement promises, and his decision
to plead guilty was not the result of any threats, force, or anyone pressuring him to plead
guilty.
          The defendant then confirmed that he still wished to plead guilty, and he pleaded
guilty to Count One of the Information.
          The court finds the following with respect to the defendant’s guilty plea:
          1.    The guilty plea was voluntary, knowing, not the result of force, threats or
                promises, except plea agreement promises, and the defendant is fully
                competent.
          2.    The defendant is aware of the maximum punishment.
          3.    The defendant knows his jury rights.
          4.    The defendant has voluntarily waived his jury rights.
          5.    There is a factual basis for the plea.
          6.    The defendant is, in fact, guilty of the crime to which he is pleading guilty.
          The defendant was advised that a written presentence investigation report would
be prepared to assist the court in sentencing. The defendant was asked to provide the

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information requested by the U.S. Probation Office to prepare the presentence
investigation report. The defendant was told that he and his counsel would have an
opportunity to read and object to the presentence report before the sentencing hearing,
and he and his counsel would be afforded the opportunity to be heard at the sentencing
hearing.
      The defendant was advised that the failure to file written objections to this Report
and Recommendation within 14 days of the date of its service would bar him from
attacking this court’s Report and Recommendation, which recommends that the assigned
United States District Judge accept the defendant’s plea of guilty. A copy of this Report
and Recommendation was served on the defendant and his attorney at the conclusion of
the proceeding.
      IT IS SO ORDERED.
      DATED this 14th day of May, 2013.




                                         ________________________________
                                         LEONARD T. STRAND
                                         MAGISTRATE JUDGE
                                         UNITED STATES DISTRICT COURT




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